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Attorneys for B&G Foods, Inc.
                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEW JERSEY

PATRICIA DEAN, JOHN GALLOWAY,
and BRIAN BLASSINGAME, individually
and on behalf of all others similarly situated,

               Plaintiffs,                            Case No.: 2:22-CV-01338-SDW-JSA

       v.                                             CERTIFICATION OF SERVICE
B&G FOODS, INC.,

               Defendant.




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       I, Mitchell C. Stein, Esq., hereby certify as follows:

       1.      On June 14, 2022, I caused to be served via electronic filing on the Clerk of the

United States District Court for the District of New Jersey and on all parties of record a copy of

the following in support of Defendant B&G Foods, Inc.’s Motion to Dismiss Plaintiffs’ First

Amended Class Action Complaint: Notice of Motion; Memorandum of Points and Authorities;

Declaration of Pratik K. Raj Ghosh, Esq. and accompanying exhibits; Proposed Order; and this

Certification of Service.


Dated: June 14, 2022                          Respectfully Submitted,


                                              By:    s/ Mitchell Stein
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